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              United States Court of Appeals
                               For the First Circuit

Nos. 15-1684, 15-1687, 15-1743

              JEANICE FARLEY, individually and on behalf of Michael Farley,
                                an incompetent adult

                              Plaintiff Appellee/Cross-Appellant

            GEORGE FARLEY; JAMES FARLEY; KIMBERLY-RAE FARLEY

                                          Plaintiffs

                                              v.

                                      UNITED STATES

                             Defendant - Appellant/Cross-Appellee


                                        MANDATE

                                 Entered: September 21, 2015

       In accordance with the judgment of September 21, 2015, and pursuant to Federal Rule of
Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                            By the Court:

                                            /s/ Margaret Carter, Clerk


cc:
Seth R. Aframe
Jamal K. Alsaffar
Tom Jacob
Lowell Vernon Sturgill Jr.
Lawrence Allen Vogelman
